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                                     U NITED STATES D ISTR ICT CO URT

                                          DISTRIC T O F NEVADA

 UM TED STATES OF AM ERICA,
                        Plaintiff,
                                                                     D istrictN o. 2:07-CR-080CRW P.A.L
 Nrs.



 M ICH AEL JENKINS
                        Defendant.

                            O RDER TEM POR ARILY UN SEALING TRANSCRIPT


         On.panuary5,2011 thiscourtreceived atranscriptorderfonu dated December22 2010 requestinga
Transcript ofthehearing heldon November22,2010 from M s.M argaretM .Stanish,counselfor D elkndant
M ichaelJenkins,in which a portion ofthehearingissealed.

         IT IS TH E O RDER O F TH E CO URT thatthesealed portion oftherecording shallbeunsealedby the
Clerk forthelim itedpum oseofprovidingatranscriptofhearing asrequestedby DefenseCounsel.

        IT IS FURTHER ORDERED thatthesealedportion oftherecordingshallthereafterbereser
                                                                                      aledby the
Clerk,untilfurtherorderofthisCourt.
        IT IS FURTH ER O RDERED thatD efenseCounselshallnotdisclosethesealed contentsofthetranscript
to anyone otlker than the representativesofthepartiesdirectly concerned with thiscase.

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        DA .I-FD this        ayofJanuary.2011.



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                                                        .z-. .,   u.      t v
                                                          y .
                                                      Peggy A.Leen
                                                      United StatesM agistrateJudge
